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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


Brian Garrett,
Edward Gonzales,
Kent Kilgore,
Adam Plouse, and                                   Case No. 2:18-cv-00692
John Does 1-35, individually and
on behalf of all others similarly situated,        Judge Michael H. Watson

              Plaintiffs,                          Chief Magistrate Judge Elizabeth P.
                                                   Deavers
vs.

The Ohio State University,

              Defendant.



         JOINT MOTION REGARDING PLAINTIFFS’ MOTION
  TO CLARIFY, MODIFY, OR AMEND ORDER (ECF NO. 51) GRANTING IN
   PART AND DENYING IN PART JOHN DOE PLAINTIFFS’ MOTION TO
               PROCEED ANONYMOUSLY (ECF NO. 64)



       Pursuant to the Court’s February 20, 2019 Order (ECF No. 65), the parties jointly move

for an agreed order to resolve Plaintiffs’ pending Motion to Clarify, Modify, or Amend Order

(ECF No. 51) Granting in Part and Denying in Part John Doe Plaintiffs’ Motion to Proceed

Anonymously (Doc. 64) and respectfully submit the following in support:

       1.     On January 17, 2019, the Court issued an Order (ECF No. 51) granting in part and

denying in part Plaintiffs’ Motion for John Doe Plaintiffs to Proceed Anonymously. (ECF No.

49).

       2.     The Court’s January 17, 2019 Order concluded that John Doe Plaintiffs may
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proceed anonymously on the docket, and may use “John Doe 1-35” in pleadings and documents

on the public record (ECF No. 51). The Court directed Plaintiffs to file, ex parte and under seal, a

First Amended Complaint containing the John Doe Plaintiffs’ true identities, which Plaintiffs

timely did. (ECF No. 60).

        3.      Consistent with the nearly identical Order entered previously in Case No. 2:18-cv-

00736, the Court’s January 17, 2019 Order authorized disclosure of the John Doe Plaintiffs’

identities to Defendant and to other legal support staff for Defendant, and to witnesses on a

“need to know” basis (ECF No. 51). The Court’s January 17, 2019 Order also directed Plaintiffs

to disclose the John Doe Plaintiffs’ true identities to Defendant’s attorneys. Plaintiffs have not

yet done so.

        4.      On February 14, 2019, Plaintiffs filed a Motion to Clarify, Modify, or Amend the

January 17, 2019 Order (ECF No. 64).

        5.      Following the Status Conference held February 19, 2019, the Court entered an

Order on February 20, 2019, directing the parties to “discuss the pending [Plaintiffs’] motion to

clarify, modify, or amend the order granting in part and denying in part John Doe Plaintiffs’

motion to proceed anonymously, ECF No. 64” and to “advise the Court whether and what issues

remain for judicial resolution regarding this motion” (ECF No. 65). Pursuant to the Court’s

February 20, 2019 Order (ECF No. 65), the parties have agreed to a proposed order that would

resolve, and obviate the current need for judicial resolution of, the issues raised in Plaintiffs’

pending Motion to Clarify, Modify, or Amend Order (ECF No. 51) Granting in Part and Denying

in Part John Doe Plaintiffs’ Motion to Proceed Anonymously (Doc. 64), as follows:

        6.      Within one week of the Court entering the attached proposed Order, Plaintiffs will

disclose the true identities of the thirty-five John Doe plaintiffs, and any future plaintiffs, to the
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attorneys representing Defendant The Ohio State University (“Ohio State”) in this case:

               (1) Michael H. Carpenter, Trial Attorney, Special Counsel, Carpenter Lipps &

                   Leland LLP, Columbus, Ohio;

               (2) Timothy R. Bricker, Special Counsel, Carpenter Lipps & Leland LLP;

               (3) David J. Barthel, Special Counsel, Carpenter Lipps & Leland LLP;

               (4) Stephen E. Dutton, Special Counsel, Carpenter Lipps & Leland LLP.

       7.      The attorneys listed above in paragraph 6 may disclose the identities of the John

Doe Plaintiffs, and any future plaintiffs, to (a) the immediate legal staff involved in this

litigation, Case No. 18-cv-00692, and related Case No. 18-00736; (b) witnesses on a “need to

know” basis; and (c) the following individuals at Ohio State:

               (1) Christopher M. Culley, Senior Vice President and General Counsel, Office of

                    Legal Affairs, The Ohio State University;

               (2) Alexandra T. Schimmer, Associate Vice President and Deputy General

                    Counsel, Office of Legal Affairs, The Ohio State University;

               (3) Anne Garcia, Vice President for Legal and Compliance, Office of Legal

                    Affairs, The Ohio State University Wexner Medical Center; Senior Associate

                    General Counsel, Office of Legal Affairs, The Ohio State University;

               (4) Paula Luna Paoletti, Senior Assistant Vice President and Senior Associate

                    General Counsel, Office of Legal Affairs, The Ohio State University;

               (5) Mary Menkedick Ionno, Assistant Vice President & Senior Associate

                    General Counsel, Office of Legal Affairs, The Ohio State University;

               (6) Haily Miller, Legal Fellow, The Ohio State University Wexner Medical

                    Center;
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                (7) Ryan Meadows, Director of Strategic Initiatives and Special Assistant to the

                     Senior Vice President, Office of Legal Affairs, The Ohio State University;

                (8) Mark Lemmon, Paralegal, Office of Legal Affairs, The Ohio State

                     University;

                (9) Chris Glaros, Assistant Vice President for Compliance Operations and

                     Investigations, Office of University Compliance and Integrity, The Ohio

                     State University;

                (10) Kellie Brennan, Director of Compliance and Title IX/Clery Act Coordinator,

                     Office of University Compliance and Integrity, The Ohio State University.

        8.      The individuals listed above in paragraph 7 may disclose the identities of the John

Doe Plaintiffs, and any future plaintiffs, to their immediate legal staff involved in this litigation,

Case No. 18-cv-00692, and related case No. 18-cv-00736.

        9.      Ohio State does not waive, but expressly reserves, the right to identify additional

individuals who have a “need to know” the identities of John Doe Plaintiffs or any future

plaintiffs.

        10.     The parties will discuss and attempt to resolve any question as to which witnesses

or additional individuals “need to know” the identities of John Doe Plaintiffs or any future

plaintiffs. If the parties are unable to agree upon which witnesses or additional individuals “need

to know,” the parties will seek the Court’s assistance.

        11.     All individuals to whom the identities of John Doe Plaintiffs or future plaintiffs

are disclosed agree not to divulge, purposefully or inadvertently, the identities of the John Doe

Plaintiffs or future plaintiffs, except as set forth above.
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                                    Respectfully submitted,

For Plaintiffs:                              For Defendant:

/s/ Simina Vourlis                           DAVID A. YOST
by /s/ Michael H. Carpenter                  ATTORNEY GENERAL OF OHIO
per email authorization (3/11/19)
Simina Vourlis                               By:    /s/ Michael H. Carpenter
(Trial Attorney) #0046689                    Michael H. Carpenter (0015733) (Trial Attorney)
The Law Office of Simina Vourlis             Timothy R. Bricker (0061872)
856 Pullman Way                              David J. Barthel (0079307)
Columbus, OH 43212                           Stephen E. Dutton (0096064)
(614) 487-5900                               CARPENTER LIPPS AND LELAND LLP
(614) 487-5901 fax                           280 Plaza, Suite 1300
svourlis@vourlislaw.com                      280 North High Street
                                             Columbus, OH 43215
Rex A. Sharp                                 E-mail:carpenter@carpenterlipps.com
Ryan C. Hudson                                      bricker@carpenterlipps.com
Scott B. Goodger                                    barthel@carpenterlipps.com
Larkin Walsh                                        dutton@carpenterlipps.com
Sarah T. Bradshaw
REX. A. SHARP, P.A.                          Special Counsel for Defendant
5301 W. 75th Street                          The Ohio State University
Prairie Village, KS 66208
(913) 901-0505
(913) 901-0419 fax
rsharp@midwest-law.com
rhudson@midwest-law.com
sgoodger@midwest-law.com
lwalsh@midwest-law.com
sbradshaw@midwest-law.com

Robert Allard
CORSIGLIA, MCMAHON AND
ALLARD, LLP
96 North Third Street, Suite 620
San Jose, CA 95112
(408) 289-1417
(408) 289-8127 fax
rallard@cmalaw.net
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Jonathan Little
SAEED AND LITTLE, LLP
133 W. Market St. #189
Indianapolis, IN 46204
317-721-9214
jon@sllawfirm.com

Stephen Estey
ESTEY & BOMBERGER LLP
2869 India Street
San Diego, CA 92103
619-295-0035
619-295-0172 fax
steve@estey-bomberger.com

COUNSEL FOR PLAINTIFFS
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                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed electronically on March 11, 2019. Notice

was sent by operation of the Court’s electronic filing system to all other counsel who have

entered an appearance and any parties who have entered an appearance through counsel. The

parties may access this filing through the Court’s ECF system.



                                             /s/ Michael H. Carpenter
                                             Trial Attorney for
                                             Defendant The Ohio State University
